 Case: 1:17-md-02804-DAP Doc #: 1611 Filed: 05/07/19 1 of 2. PageID #: 45080




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                     )     CASE NO. 1:17-MD-2804
OPIATE LITIGATION                                )
                                                 )     JUDGE DAN A. POLSTER
                                                 )
                                                 )     MAGISTRATE JUDGE DAVID A. RUIZ
                                                 )
                                                 )
                                                 )     NOTICE OF DECISION
                                                 )




        PLEASE TAKE NOTICE that the United States of America received a renewed

request for the disclosure of official Department of Justice (“DOJ”) information in the above-

captioned case. Specifically, on March 8, 2019, DOJ received a request from Defendants

seeking the DOJ to reconsider allowing former Drug Enforcement Administration (“DEA”)

employee Michael Mapes to testify and disclose official Department of Justice information.

After reviewing the request and the deposition testimony of other witnesses, DOJ has granted

authorization for Michael Mapes to provide testimony regarding official Department of Justice

information on certain subjects. The decision letter is attached hereto as Government Exhibit A

and will be provided to the Court and all of the parties via the Court’s electronic filing system.
  Case: 1:17-md-02804-DAP Doc #: 1611 Filed: 05/07/19 2 of 2. PageID #: 45081




                                               Respectfully submitted,

                                               AVA ROTELL DUSTIN
                                               Executive Assistant United States Attorney
                                               Attorney for the United States
                                               Acting Under Authority Conferred by 28 U.S.C. § 515



                                       By:     /s/ James R. Bennett II
                                               JAMES R. BENNETT II (OH #0071663)
                                               Assistant U.S. Attorney
                                               Carl B. Stokes U.S. Courthouse
                                               801 West Superior Avenue, Suite 400
                                               Cleveland, Ohio 44113-1852
                                               Telephone: (216) 622-3600
                                               Facsimile: (216) 522-4982
                                               E-mail: James.Bennett4@usdoj.gov

                                               Attorney for United States Department of Justice,
                                               Drug Enforcement Administration




                                   CERTIFICATE OF SERVICE

       I certify that, on May 7, 2019, I filed a copy of the foregoing electronically. The Court’s

electronic filing system will send notice of this filing to all parties. Parties may access this filing

through the Court’s system.


                                               /s/ James R. Bennett II
                                               JAMES R. BENNETT II
                                               Assistant U.S. Attorney




                                                   2
